                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


UNITED STATES OF AMERICA              )
                                      )
                    v.                )      Cause No. 2:19 CR 154
                                      )
                                      )
CESAR SALDIVAR                        )

                               PLEA AGREEMENT

      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, come now

the United States of America, by Assistant United States Attorney Kevin F. Wolff,

the defendant, Cesar Saldivar, and James Vanzant as attorney for the defendant,

and show the Court they have entered into a plea agreement as follows:

      1.     I, CESAR SALDIVAR, have the ability to read, write and speak the

English language.

      2.     I have received a copy of the Indictment and have read and discussed it

with my lawyer, and believe and feel that I understand every accusation made

against me in this case.

      3.     I have told my lawyer the facts and surrounding circumstances as

known to me concerning the matters mentioned in the Indictment and believe and

feel that my lawyer is fully informed as to all such matters. My lawyer has

counseled and advised with me as to the nature and elements of every accusation

against me and as to any possible defenses I might have.

      4.     I understand that I am entitled to have all of my rights which may be
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involved in this matter explained to me, and that I have the right to have any

questions I may have answered for me.

      5.     I understand by pleading guilty I waive certain rights. The rights

described below have been explained to me, as well as the consequences of my

waiver of these rights:

             a.     If I persisted in a plea of not guilty to the charge against me, I
                    would have the right to a public and speedy trial. The trial
                    could be either a jury trial or a trial by the judge sitting without
                    a jury. I have the right to a jury trial. However, I may waive a
                    jury trial in writing with the approval of the Court and the
                    consent of the government.

             b.     If the trial is a jury trial, the jury would be composed of twelve
                    laypersons selected at random. My attorney and I would have a
                    say in who the jurors would be by removing prospective jurors
                    for cause where actual bias or other disqualification is shown, or
                    without cause by exercising so-called peremptory challenges.
                    The jury would have to agree unanimously before it could return
                    a verdict of either guilty or not guilty. The jury would be
                    instructed that a defendant is presumed innocent, and that it
                    could not convict unless, after hearing all the evidence, it was
                    persuaded of my guilt beyond a reasonable doubt, and that it
                    was to consider each count of the Indictment separately.

             c.     If the trial is held by the judge without a jury, the judge would
                    find the facts and determine, after hearing all the evidence, and
                    considering each count separately, whether or not the judge was
                    persuaded of my guilt beyond a reasonable doubt.

             d.     At a trial whether by a jury or a judge, the prosecution would be
                    required to present its witnesses and other evidence against me.
                    I would be able to confront those government witnesses and my
                    attorney would be able to cross-examine them. In turn, I could
                    present witnesses and other evidence in my own behalf. If the
                    witnesses for me would not appear voluntarily, I could require
                    their attendance through the subpoena power of the Court.

             e.     At a trial, I would have a privilege against self-incrimination so
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                   that I could decline to testify, and no inference of guilt could be
                   drawn from my refusal to testify. If I desired to do so, I could
                   testify in my own behalf.

             f.    At trial and at every stage of the proceedings, I have a right to
                   an attorney, and if I could not afford an attorney one would be
                   appointed for me.

             g.    In the event that I should be found guilty of the charge against
                   me, I would have the right to appeal my conviction on such
                   charge to a higher court.

      6.      I understand that under the U.S. Sentencing Guidelines, the Court, in

light of an investigation by the United States Probation Office, will determine the

applicable sentencing guideline range, and that the Court will determine all

matters, whether factual or legal, relevant to the application of the U.S. Sentencing

Guidelines. I understand that the U.S. Sentencing Guidelines are advisory only,

and that the specific sentence to be imposed upon me will be determined by the

judge after a consideration of a pre-sentence investigation report, input from

counsel for myself and the government, federal sentencing statutes, and the U.S.

Sentencing Guidelines.

      7.     Notwithstanding the above, I have, with the assistance of counsel,

entered into an agreement with the United States Attorney=s Office as follows:

             a.    I will plead GUILTY to Count 1 of the Indictment charging me
                   with unlawful possession of a machinegun not registered to me
                   in the National Firearms Registration and Transfer Record, in
                   violation of 26 U.S.C. §§ 5841, 5861(d), and 5871, because I am,
                   in fact, guilty of the offense charged in that count. I
                   understand that the maximum possible penalties that may be
                   imposed upon me for Count 1 are ten years imprisonment, three
                   years of supervised release, and a $10,000 fine. I also

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     understand that a special assessment of $100.00 in addition to
     any other penalty imposed is due and payable at the time of my
     sentencing hearing.

b.   I will also plead GUILTY to Count 2 of the Indictment charging
     me with unlawful possession and transfer of a machinegun in
     violation of 18 U.S.C. §§ 922(o) and 921(a)(23) because I am, in
     fact, guilty of the offense charged in that count. I understand
     that the maximum possible penalties that may be imposed upon
     me for Count 2 are ten years imprisonment, three years of
     supervised release, and a $250,000 fine. I also understand that
     a special assessment of $100.00 in addition to any other penalty
     imposed is due and payable at the time of my sentencing
     hearing.

c.   The United States of America and I have also entered into the
     following agreements which are not binding upon the Court, and
     I understand that if the Court does not follow these agreements I
     will not be allowed to withdraw my guilty plea:

     i.    In recognition of my acceptance of responsibility for my
           offense conduct, I am entitled to a two point and, if
           eligible, an additional one point reduction in offense level
           for acceptance of responsibility; however, the government
           is not obligated to recommend I receive the acceptance of
           responsibility adjustment if I deny my involvement in the
           offense, give conflicting statements of my involvement, or
           engage in additional criminal conduct including any
           personal use of controlled substances;

d.   I understand that the law gives a convicted person the right to
     appeal the convictions and the sentences imposed. I also
     understand that no one can predict the precise sentences that will
     be imposed, and that the Court has jurisdiction and authority to
     impose any sentences within the statutory maximum set for my
     offenses as set forth in this plea agreement.          With this
     understanding and in consideration of the government’s entry
     into this plea agreement, I expressly waive my right to appeal or
     to contest my convictions and all components of my sentences or
     the manner in which my convictions or my sentences were
     determined or imposed, to any Court on any ground other than a
     claim of ineffective assistance of counsel, including any appeal
     under Title 18, United States Code, Section 3742 or any post-
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                    conviction proceeding, including but not limited to, a proceeding
                    under Title 28, United States Code, Section 2255;

             e.     I also agree to waive all rights, whether asserted directly or
                    through a representative, to, after sentencing, request or receive
                    from the United States any further records, reports, or
                    documents pertaining to the investigation or prosecution of this
                    matter; this waiver includes, but is not limited to, rights
                    conferred by the Freedom of Information Act and the Privacy
                    Act of 1974.

      8.     I am prepared to state to the Court the facts in this matter that cause

me to believe that I am guilty of the Count to which I have agreed to plead guilty,

including acknowledging the following facts:

             On or about September 30, 2019, in the Northern District of
             Indiana, I knowingly possessed a “Glock” conversion device on my
             person. I knew that the “Glock” conversion device, when it was
             installed on a semiautomatic firearm, made the firearm capable of
             firing automatically, more than one shot, without manual
             reloading, with a single function of the trigger. Because the “Glock”
             conversion device had these characteristics, the “Glock” conversion
             device was a machinegun. I knowingly transferred the machinegun
             to another person. The machinegun was not registered in the
             National Firearms Registration and Transfer Record.

      9.     I understand that if I violate any of the provisions of this plea

agreement, including my continuing obligation to demonstrate acceptance of

responsibility, the United States may at its option either (1) ask the Court to make

a determination that I have breached a term in this agreement in which event I will

at sentencing lose the benefit of all the non-binding promises made by the

government in this agreement and I would have no right to withdraw my guilty

plea, or (2) the United States could seek to have the Court declare this entire plea

agreement null and void, in which event I can then be prosecuted for all criminal
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offenses that I may have committed.

      10.     I believe and feel that my lawyer has done all that anyone could do to

counsel and assist me, and that I now understand the proceedings in this case

against me.

      11.     I declare that I offer my plea of guilty freely and voluntarily and of my

own accord, and no promises have been made to me other than those contained in

this agreement, nor have I been threatened in any way by anyone to cause me to

plead guilty in accordance with this agreement.

      12.     I understand and acknowledge that this agreement, once filed with the

court, is a public document and available for public viewing.



                                                      s/Cesar Saldivar
                                                      CESAR SALDIVAR
                                                      Defendant



                                                      s/James Vanzant
                                                      JAMES VANZANT
                                                      Attorney for Defendant

APPROVED:

      THOMAS L. KIRSCH II,
      United States Attorney


By:   s/Kevin F. Wolff
      KEVIN F. WOLFF
      Assistant U. S. Attorney




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